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United States District Court gay
Northern District of Alabama 0 0V2/ m
Southern Division §§ %/3],~/;;/€‘ 0-'23
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Peggy Horn, ] ”
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Plaintiff(s), ]
]
vs. ] CV-Oi-N-2614-S
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Jefferson County Commission, ]
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Defendant s . ‘ `
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Memorandum of Opinion
|. lntroduction. -»~-»~~“" ` "`"

Presently before the court is a Motion for Reconsideration filed by the
defendant the Jefferson County Commission ("the County”) on June 5, 2003,
[Doc. # 69], and Plaintiff’s Response and Motion to Strike. [Doc. # 79]. The
County asserts that the court incorrectly denied that part of its motion for
summary judgment dealing with Plaintiff’s retaliation claim. Plaintiff claims
the County retaliated against her because she exercised rights under the
Family and Medical Leave Act of 1993 ("FMLA”), 29 U.S.C. §§ 2601 - 2654.

The issues raised in the Motion for Reconsideration as well as the Response

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have been fully briefed by both parties and are now ripe for decision. Upon
due consideration, the court is of the opinion that the Motion for
Reconsideration is due to be granted and the Motion to Strike is due to be
denied.

||. Discussion.

The court entered summary judgment in favor of the County on all the
plaintiff’s claims except for her FMLA retaliation claim. The County
maintains that the court should have also granted summary judgment as to
the plaintiff’s retaliation claim due to her failure to meet the McDonnell
Douglas burden shifting requirements. Plaintiff argues that she presented
direct evidence of discrimination and therefore was not required to satisfy
the McDonnell Douglas analysis.

Plaintiff points to portions of the deposition testimony of Roy Burnett
which she contends constitute direct evidence of impermissible retaliation.1
Mr. Burnett testified as follows:

Q. (MS. LEONARD:) Would it be fair to say that

 

1Roy Burnett is employed as the Jefferson County Risk Manager. The Occupational
Health Coordinator reports to the Jefferson County Risk Manager. (See Burnett Aff. Ex.
A, Doc. # 47).

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you did not give Ms. Horn the provisional
appointment because of her attendance?

A. Yeah. Primarily, yes.

Burnett Dep. at 26, lines 11-15.

Q. (MS. LEONARD:) |n considering Ms. Horn’s
attendance - so now you’re saying that - in
considering Ms. Horn’s attendance, did you consider
sick leave that she had taken?

A. | feel - yes, sick leave. |t’s paid sick leave
that l was concerned about.

Burnett Dep. at 28, lines 6 - 13.

Direct evidence is "evidence, which if believed, proves existence of
fact in issue without inference or presumption." Rollins v. Tech$outh, lnc.,
833 F.2d 1525, 1528 n.6 (11th Cir. 1987) (citations, emphasis and brackets
omitted). "Evidence that only suggests discrimination . . . or that is subject
to more than one interpretation . . . does not constitute direct evidence.”
Merritt v. Dillard Paper Co., 120 F.3d 1181 , 1189 (11th Cir. 1997) (citations
omitted).

Defendant directs the court’s attention to the affidavit of Roy Burnett

originally offered in support of its Motion for Summary Judgment as

clarification of the deposition testimony of Burnett. |n the affidavit, Mr.

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Burnett states in part the following:
l did not consider any of these leaves of absence
without pay in my decision to select Leigh Anne
Salmon for the provisional or permanent
appointment to the position Occupational Health
Coordinator. Nor did | consider that portion of her
paid leave usage which | knew to be legitimate (i.e.
such as child birth, real illness, etc.).

Burnett Aff. Ex. A (Doc. # 47).

Plaintiff moves to strike the affidavit arguing that the affidavit is
inconsistent with his prior testimony. Plaintiff asserts that the affidavit
“. . . deal[s] with several other issues besides Ms. Horn’s alleged attendance
problems, including her performance at the interview and her supposed lack
of supervisory experience.” Plaintiff’s brief. [Doc. # 79]. The court does
not find the affidavit inconsistent with Burnett’s prior testimony. Burnett
stated that he considered Horn’s attendance and specifically that he was
concerned with her "paid sick leave." Burnett went on in response to
questions posed by the plaintiff in his deposition to assert that another
reason the plaintiff failed to get the promotion was " . . . she didn’t have
supervisory skills that | thought she ought to have.” Burnett Dep. at 26,

lines 16 - 21 . |n addition, Defendant’s Answers to Plaintiff’s lnterrogatories,

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served on Plaintiff’s counsel prior to Burnett’s deposition, include the same
information set forth in Burnett’s affidavit,

As the court explained in its prior opinion, Plaintiff’s maternity leave
is the only leave that could be the subject of this claim. Plaintiff couched
her questions and was free to inquire of Burnett whether he considered the
maternity leave in making his decision about the promotion. Plaintiff
instead asked general questions about "sick leave” and then accepted
Burnett’s answers without an attempt to clarify a general answer about
"sick leave. ”

The court notes that Plaintiff failed to object to or move to strike the
affidavit of Mr. Burnett until after Defendant filed its Motion to Reconsider
pointing out an item of evidence that it contended the court missed. The
motion is untimely. For all the reasons stated in this opinion, the Motion to
Strike is due to be denied.

When the deposition testimony is considered along with the affidavit
of Mr. Burnett, it is clear that there is no direct evidence of retaliation or
discrimination. Because the plaintiff has presented no direct evidence, her
claims must be analyzed using the familiar McDonnell Douglas burden

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shifting framework. The plaintiff has the burden of first establishing a prima
facie case. "To establish a prima facie case of retaliation, a plaintiff must
show that [s]he engaged in statutorily protected conduct, [s]he suffered
adverse action, and there is a causal connection between the protected
conduct and the adverse action.” Smi th v. Bell$outh Telecommunications,
Inc., 273 F.3d 1303, 1314 (11th Cir. 2001). "|f the plaintiff makes out a
prima facie case, the burden shifts to the defendant to articulate a
legitimate reason for the adverse action.” ld. (citing McDonnell Douglas
Corp. v. Green, 411 U.S. 792, 802 (1973). Once the Defendant articulates
one or more legitimate reasons for the adverse action, the plaintiff must
show that each of the proffered reasons are mere pretext. See id.; see also
Combs v. Plantation Patterns, 106 F.3d 1519 (11th Cir. 1997).

The plaintiff met her initial burden of establishing a prima facie case
and the County has articulated various reasons for failing to promote Ms.
Horn, all of which were set forth in the court’s original memorandum and
will not be repeated. Therefore, Plaintiff must prove that the articulated
reasons are mere pretext. Plaintiff has failed to produce evidence from
which a reasonable factfinder could find that the County’s proffered reasons

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for failing to promote her are mere pretext. Summary judgment as to this
claim is due to be granted.
|||. Conclusion.

The court will enter an appropriate order in conformity with this
memorandum of opinion.

Done, this _&Q`of November, 2003.

/Q\KL

L. Scott Coogl@'
United States District Judge

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